
970 So.2d 473 (2007)
STATE of Florida, Appellant,
v.
Solomon BERNSTEIN, Appellee.
No. 4D06-4663.
District Court of Appeal of Florida, Fourth District.
December 12, 2007.
Bill McCollum, Attorney General, Tallahassee, and Richard Valuntas, Assistant Attorney General, West Palm Beach, for appellant.
John G. George of John G. George, P.A., Ft. Lauderdale, for appellee.
PER CURIAM.
Reversed. State v. Buttolph, 969 So.2d 1209 (Fla. 4th DCA 2007).
POLEN, KLEIN and MAY, JJ., concur.
